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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

       SOLAS OLED LTD.,                                 §
                                                        §
                                                        §
                         Plaintiff,                     §
       v.                                               §     Case No. 2:21-CV-00105-JRG-RSP
  .                                                     §
       SAMSUNG ELECTRONICS CO., LTD.;                   §
       SAMSUNG ELECTRONICS AMERICA,                     §
       INC.,                                            §
                                                        §
                        Defendant.                      §


                                                   ORDER
             For the reasons assigned during the May 12, 2022 pretrial conference, Plaintiff’s

      Opposed Motion to Bifurcate Samsung’s License Defense and Breach of Contract Counterclaim

      Based on the Neodron PLA (Dkt. No. 266) is GRANTED. A separate trial on those issues will

      be scheduled after the trial of the infringement, validity and damages issues.
             SIGNED this 3rd day of January, 2012.
             SIGNED this 13th day of May, 2022.




                                                            ____________________________________
                                                            ROY S. PAYNE
                                                            UNITED STATES MAGISTRATE JUDGE
